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                            UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF MASSACHUSETTS


STEVEN “SHELBY” COLLYMORE,
          Plaintiff,


                v.                                              CIVIL ACTION NO. 18-11480-MPK


SUFFOLK COUNTY SHERIFF DEPT., and
DIRECTOR OF MEDICAL SERVICES,
          Defendants.

KELLEY, U.S.M.J.



                      MEMORANDUM AND ORDER ON
      SUFFOLK COUNTY SHERIFF’S DEPARTMENT’S MOTION TO DISMISS (#35.)



        Pro se plaintiff Steven “Shelby” Collymore alleges that defendants, Suffolk County

Sheriff’s Department (SCSD) and the Director of Medical Services (Medical Director) at the South

Bay House of Correction (SBHOC), have discriminated against her by refusing to prescribe her

the hormone estrogen. This matter is before the court on defendant SCSD’s motion to dismiss

(#35) for failure to state a claim upon which relief can be granted.

        On January 29, 2019, the court issued a Memorandum and Order (#28) 1 granting defendant

Medical Director’s motion to dismiss for failure to state a claim. The facts and claims alleged



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 On February 20, 2019, the copy of the Memorandum and Order sent to plaintiff was returned to the court
as undeliverable. Upon inquiry to the records department at the Suffolk County House of Correction, the
clerk was advised that Collymore had been “released to the street” on November 21, 2018. Plaintiff has not
updated his address in this case. Collymore has had numerous cases in this court and, in fact, updated his
address in one of those cases, Collymore v. Tannery, 18-cv-11634-LTS (#30), on November 15, 2018. This
Memorandum and Order, together with the January 29th Memorandum and Order (#28), will be sent to the
address noted on the Tannery docket.
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against SCSD are identical to those alleged against the Medical Director. The legal reasoning in

the prior Memorandum and Order (#28) is equally applicable to the claims against SCSD, and is

incorporated herein by reference.

       For the reasons stated in the January 29th Memorandum and Order (#28), plaintiff does not

allege facts plausibly supporting a claim for deliberate indifference to a serious medical need in

violation of the Eighth Amendment, or a claim under the Massachusetts Civil Rights Act.

Therefore, it is ORDERED that Suffolk County Sheriff’s Department’s Motion to Dismiss (#35)

is GRANTED.


                                                            /s/ M. Page Kelley
                                                            M. Page Kelley
March 13, 2019                                              United States Magistrate Judge




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